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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA              FILED UNDER SEAL
                      Plaintiff,


IN THE MATTER OF THE SEIZURE OF       Case No.: 19-mj-6092-MPK
ALL FUNDS ON DEPOSIT UP TO
$140,000 IN BANK OF AMERICA
ACCOUNT NUMBER ********4999,
HELD IN THE NAME OF DONNA C.
HEINEL ANDHmUmi,
IN THE MATTER OF THE SEIZURE OF       Case No.: I9-mj-6093-MPK
ALL FUNDS ON DEPOSIT UP TO
$100,000 IN CITY NATIONAL BANK
ACCOUNT NUMBER ***8419, HELD IN
THE NAME OF JORGE SALCEDO AND



IN THE MATTER OF THE SEIZURE OF       Case No.: I9-mj-6094-MPK
ALL FUNDS ON DEPOSIT UP TO
$50,000 IN WELLS FARGO BANK
ACCOUNT NUMBER ******5954, HELD
IN THE NAME OF BILL FERGUSON
VOLLEYBALL CAMPS LLC,

IN THE MATTER OF THE SEIZURE OF       Case No.: 19-mj-6095-MPK
ALL FUNDS ON DEPOSIT UP TO
$1,138,500 IN PNC BANK ACCOUNT
NUMBER ******6522, HELD IN THE
NAME OF GORDON M. ERNST AND



IN THE MATTER OF THE SEIZURE OF       Case No.: I9-mj-6096-MPK
ALL FUNDS ON DEPOSIT UP TO
$289,963.78 IN PNC BANK ACCOUNT
NUMBER ******6905, HELD IN THE
NAME OF GORDON M. ERNST AND



IN THE MATTER OF THE SEIZURE OF       Case No.: 19-mj-6097-MPK
ALL FUNDS ON DEPOSIT UP TO
$650,000 IN MERRILL LYNCH BANK
ACCOUNT NUMBER ****8442, HELD
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